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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

R.J. et al.,                                    )
                                                )
                   Plaintiffs,                  )
                                                )
             v.                                 )       Case No. 12-cv-7289
                                                )
HEIDI MUELLER,                                  )       Hon. Matthew F. Kennelly
                                                )
                   Defendant.                   )

         JOINT MOTION FOR EXTENSION OF TIME TO FILE REPORT WITH
                       PLAN ON CONCLUSION OF CASE

        Plaintiffs and defendant, by and through their respective counsel, respectfully request a

six-day extension of time to file a “report with a plan on the conclusion of this case.” In support

of this motion, the parties state as follows:

        1.        This Court set the following deadlines: (1) monitors’ annual reports due October

31, 2019; (2) parties to file compliance chart with an executive summary by November 14, 2019;

and (3) parties to file a report with a plan on the conclusion of this case by November 21, 2019.

(Dkt. No. 293) The Court set a status hearing for November 25, 2019. (Id.)

        2.        The monitors’ reports and the parties’ compliance chart with an executive

summary were filed in accordance with the Court’s order.

        3.        However, the parties require a short, six-day extension of time to file the report

with a plan on the conclusion of this case. The DJJ’s General Counsel, NeAngela Dixon, is

preparing a draft report for review and comment by plaintiffs’ counsel. However, Ms. Dixon has

been quite ill and out of the office for the past several days, and has been unable to finish a draft

the report. DJJ expects to be able to provide a draft to plaintiffs’ counsel by Monday, November

25, 2019 for their review.

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        4.     The parties respectfully request a six-day extension of time, to November 27,

2019, to file the report with a plan on the conclusion of this case.

        5.     In addition, the parties respectfully request that the Court reset the status hearing

currently scheduled for November 25, 2019 to a date after the filing of the report. Counsel for

the parties is available on December 3, 2019 for a status hearing. (Counsel understands that the

Court is not available December 5-11. In addition to December 3, counsel is also available

December 12-19.)

        WHEREFORE, for the foregoing reasons, the parties respectfully request that the Court

grant this motion, and (1) extend the deadline to file a “report with a plan on the conclusion of

the case” by six days, to November 27, 2019; and (2) reset the status hearing from November 25,

2019 to December 3, 2019 or another date convenient to the Court.



DATED: November 20, 2019                               Respectfully submitted,


For the Plaintiffs:                                   For the Defendant:

By: /s/ Camille E. Bennett                            By: /s/ Michael T. Dierkes

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